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write-ups or warnings, suspensions, Corrective Actions, PIPs, etc. that have not already been
produced in response to the preceding Interrogatories or Document Requests.

RESPONSE TO REQUEST NO. 33:

       The Walgreens and Duane Reade Defendants object to this Request on the grounds that it

is vague, overly broad, unduly burdensome, and duplicative. Subject to, and without waiving,

these objections or the foregoing General Objections, the Walgreens and Duane Reade

Defendants respond: see the Walgreens and Duane Reade Defendants’ response to Request No.

32.

REQUEST NO. 34: Produce copies of any and all documents relating to, concerning or
referencing any complaints (formal or informal, verbal or written, direct or indirect) of alleged
misconduct involving or referencing Plaintiff, including, but not limited to, complaints of alleged
poor work performance, complaints of alleged discrimination, harassment and/or retaliation that
have not already been produced in response to the preceding Interrogatories or Document
Requests.

RESPONSE TO REQUEST NO. 34:

       The Walgreens and Duane Reade Defendants object to this Request on the grounds that it

is vague, overly broad, unduly burdensome, and duplicative. Subject to, and without waiving,

these objections or the foregoing General Objections, the Walgreens and Duane Reade

Defendants respond: see the Walgreens and Duane Reade Defendants’ response to Request No.

32 and Document Production # DR 000412-413; 000419-420.

REQUEST NO. 35: Produce copies of any and all documents relating to, concerning or
referencing any investigations (formal or informal, verbal or written, direct or indirect), if any,
regarding alleged misconduct involving or referencing Plaintiff, including, but not limited to,
claims of alleged poor work performance, claims that Plaintiff was involved in unauthorized
price reductions of Defendants’ products at work, complaints of alleged discrimination,
harassment, disparate treatment, retaliation, derogatory comments or conduct, questionable
disciplinary actions, suspension, and/or terminations of employment that have not already been
produced in response to the preceding Interrogatories or Document Requests.

RESPONSE TO REQUEST NO. 35:




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       The Walgreens and Duane Reade Defendants object to this Request on the grounds that it

is vague, overly broad, unduly burdensome, and duplicative. Subject to, and without waiving,

these objections or the foregoing General Objections, the Walgreens and Duane Reade

Defendants respond: see the Walgreens and Duane Reade Defendants’ response to Request Nos.

20 and 34.

REQUEST NO. 36: Produce copies of any and all documents related to, concerning or
referencing any policies, procedures or practices (formal or informal, verbal or written) that may
pertain to Plaintiff, to Defendants and/or to the subject matter of the instant lawsuit, including,
but not limited to, policies, procedures and practices concerning employee complaints of
discrimination, harassment, retaliation, progressive discipline and employee discipline up to and
including terminations of employment that were in effect at any time during Plaintiff’s
employment with Defendants.

RESPONSE TO REQUEST NO. 36:

       The Walgreens and Duane Reade Defendants object to this Request on the grounds that it

is vague, overly broad, unduly burdensome, and duplicative. Subject to, and without waiving,

these objections or the foregoing General Objections, the Walgreens and Duane Reade

Defendants respond: see the Walgreens and Duane Reade Defendants’ Document Production

pursuant to the Initial Protocols.

REQUEST NO. 37: Produce copies of any and all reports, notes or other documents provided
to Defendants, or to anyone acting on Defendants’ behalf, by any person contacted or retained
for the purpose of serving as an expert in this lawsuit.

RESPONSE TO REQUEST NO. 37:

       The Walgreens and Duane Reade Defendants object to this Request on the grounds that it

is overly broad, unduly burdensome, premature, and assumes facts not admitted or otherwise

established. The Walgreens and Duane Reade Defendants further object on the grounds that this

Request seeks documents and correspondence that would be protected from disclosure by the

attorney-client privilege or by the work product doctrine. Subject to, and without waiving, these

objections or the foregoing General Objections, the Walgreens and Duane Reade Defendants


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REQUEST NO. 60: Produce copies of any and all documents maintained in any file relating to,
concerning or referencing Defendant Germaine Allen that pertain to, concern, reference or may
be relevant to Plaintiff or to the subject matter of the instant lawsuit that have not already been
Produced in response to preceding Interrogatories or Document Requests.

RESPONSE TO REQUEST NO. 60:

       The Walgreens and Duane Reade Defendants object to this Request on the grounds that it

is overly broad, unduly burdensome. Subject to, and without waiving, these objections or the

foregoing General Objections, the Walgreens and Duane Reade Defendants respond: see the

Walgreens and Duane Reade Defendants’ Document Production # DR 000314-322; 000416-420.

REQUEST NO. 61: Produce copies of the complete personnel or employee file of Defendant
Vivian Ghobrial, including, but not limited to, the jacket of the file, resume, applications for
positions of employment or work with Defendant, performance evaluations or reviews,
accommodations, awards, written warnings, reprimands, disciplinary actions (formal or informal,
verbal or written), any complaints and/or allegations (formal or informal, verbal or written)
pertaining to discrimination, harassment, retaliation, disparate treatment, questionable
disciplinary actions involving or referencing Defendant Vivian Ghobrial.

RESPONSE TO REQUEST NO. 61:

       The Walgreens and Duane Reade Defendants object to this Request on the grounds that it

is overly broad, unduly burdensome, and assumes facts not admitted nor otherwise established.

The Walgreens and Duane Reade Defendants further object on the grounds that this Request

seeks documents that are neither relevant to any party’s claims or defenses nor proportional to

the needs of the case.

REQUEST NO. 62: Produce copies of any and all documents maintained in any file relating to,
concerning or referencing allegations of discrimination, harassment, retaliation, disparate
treatment, questionable disciplinary actions, and/or wrongful termination of employment
involving or referencing Defendant Vivian Ghobrial that have not already been Produced in
response to preceding Interrogatories or Document Requests.

RESPONSE TO REQUEST NO. 62:

       The Walgreens and Duane Reade Defendants object to this Request on the grounds that it

is overly broad, unduly burdensome, and assumes facts not admitted nor otherwise established.




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The Walgreens and Duane Reade Defendants further object on the grounds that this Request

seeks documents that are neither relevant to any party’s claims or defenses nor proportional to

the needs of the case. Subject to, and without waiving, these objections or the foregoing General

Objections, the Walgreens and Duane Reade Defendants respond: see Southern District of New

York, Case No. 16-cv-06169.

REQUEST NO. 63: Produce copies of any and all documents maintained in any file relating to,
concerning or referencing Defendant Vivian Ghobrial that pertain to, concern, reference or may
be relevant to Plaintiff or to the subject matter of the instant lawsuit that have not already been
Produced in response to preceding Interrogatories or Document Requests.

RESPONSE TO REQUEST NO. 63:

       The Walgreens and Duane Reade Defendants object to this Request on the grounds that it

is vague, overly broad, and unduly burdensome.          Subject to, and without waiving, these

objections or the foregoing General Objections, the Walgreens and Duane Reade Defendants

respond: see the Walgreens and Duane Reade Defendants’ Document Production # DR 000369-

540.

REQUEST NO. 64: Produce copies of the complete personnel or employee file of Defendant
Crystal Beckrum/Beckum, including, but not limited to, the jacket of the file, resume,
applications for positions of employment or work with Defendant, performance evaluations or
reviews, accommodations, awards, written warnings, reprimands, disciplinary actions (formal or
informal, verbal or written), any complaints and/or allegations (formal or informal, verbal or
written) pertaining to discrimination, harassment, retaliation, disparate treatment, questionable
disciplinary actions involving or referencing Defendant Crystal Beckrum/Beckum.

RESPONSE TO REQUEST NO. 64:

       The Walgreens and Duane Reade Defendants object to this Request on the grounds that it

is overly broad, unduly burdensome, and assumes facts not admitted nor otherwise established.

The Walgreens and Duane Reade Defendants further object on the grounds that this Request

seeks documents that are neither relevant to any party’s claims or defenses nor proportional to

the needs of the case.



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